 

lN THE UN|TED STATES DISTR|CT COURT
NORTHERN DISTRICT OF lLLlNO|S
EASTERN DlV|S|ON

DAN|EL BLAUE

Plaintiff,
No. 03 C 9025
v.

WlLL|AM KlSSINGER, FOX VALLEY lRON
METAL AND AUTO SALVAGE, lNC.,
HUMPHREY PRODUCTS COMPANY, lNC.,
DIB!A HUMPHREY PRODUCTS DlVlSION,
PARKER-HANN|F|N CORPORAT|ON,
FIKIA COMMERC|AL lNTERTECH
CORPORATION, DANA CORPORATION
CHELSEA PRODUCTS D|VlSlON, AND
DANA CORPORAT|ON

Mag. Judge Michae| T. Mason

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Defendants.
MEMORANDUM OPlNlON AND ORDER

Michael T. Mason, United States Magistrate Judge:

Plaintiff, Daniel Blaue (“p|aintiff”), filed a nine-count complaint alleging claims for
negligence and strict product liability against each of the defendants Defendants Wi|liam
Kissinger (“Kissinger”) and Fox Vai|ey |ron Meta| and Auto Salvage, lnc., (“Fox Valley”),
filed cross-claims for contribution, under a theory of strict product |iability, against
defendants Parker-Hannifin Corporation (“Parker-Hannifin"), Dana Corporation (“Dana”)
and Humphrey Products Company, |nc., d/b/a Humphrey Products Divis%on (“Humphrey”).
Humphrey filed a motion for summaryjudgment on Kissinger and Fox Val|ey’s cross-claim
for contribution. Humphrey also filed a motion for summary judgment on Counts lV and
V of plaintist complaint Forthe reasons set forth beiow, Humphrey’s motion for summary

judgment on Kissinger and Fox Va|ley’s cross-claim is granted Humphrey’s motion for

 

summaryjudgment on Cou nts iV and V of plaintist complaint is granted in part and denied
in part.
BACKGROUND1
The Accident

P|aintiff’s complaint arises out of an automobite accident that occurred on October
31 , 2001 . At the time of the accident, Fox Valtey employee, Wi|liam Kissinger, was driving
a Fox Va||ey dump truck on interstate 94 near the Brad|ey Road overpass. Fox Va|iey's
truck consisted of two parts: a cab and a dump bed trailer. Before Kissinger reached the
Bradley Road overpass, the dump bed became elevated. Robert Frie|, who witnessed the
accident, testified that he saw the yellow dump bed up at an angle greater than 45 degrees
as Kissinger approached the overpass. The dump bed was elevated to such a height that
it struck the Brad|ey Road overpass. Upon impact, the dump bed trailer separated from
the cab of the truck and came into contact with plaintiffs vehic|e. Ptaintiff's complaint
alleges that he suffered personal injuries as a result of this accident

At the time of the accident, Fox Va!ley’s truck was equipped with a hydraulic
lift/pump system and power take-off (“PTO”) mechanism that was used to lift the dump
bed. This system included: a gear pump and valve manufactured by Parker-Hannifin; a
PTO device designed and manufactured by Dana; and two dash mounted air valves (“the

Humphrey switches") designed and manufactured by Humphrey.

 

1 The facts in this section are derived from the parties’ Rule 56.1 statement of facts or
the exhibits attached thereto.

 

The Humphrey switches controlled the PTO and dump bed on Fox Valley's truck.2
A two-position Humphrey switch was used to turn the PTO on and off (“the PTO switch”).
A three-position Humphrey switch was used to raisel hold and tower the dump bed ("the
dump switch"). The Humphrey switches were installed on Fox Valley’s truck by either
Kissinger or Fox Valley’s mechanic, John Johnson (“Johnson”), at Kissinger’s request
While Johnson could not say for sure who installed the switches on the truck in question,
Johnson was famiiiar with these switches because he installed them on many of Fox
Valley’s trucks.

On the morning of the accident, Kissinger had driven Fox Vatley’s dump truck from
Oshkosh, Wisconsin to Chicago, |l|inois to deliver electric motors. He was on his way back
to Oshkosh when the accident occurred Kissinger explained his normal routine when he
dumped materials at a delivery site. He testified that he would first engage the PTO and
then use the dump switch to raise the dump bed. Kissinger further testified that the dump
bed could not be raised unless the PTO was engaged, meaning that the PTO switch had
to be in the “on" position. After he was finished with the dump, Kissinger would lower the
dump bed and flip the PTO switch to the off position. Kissinger testified that to the best of
his knowledge, he disengaged or turned off the PTO after he dumped the electric motors
on the morning of October 31 , 2001.

The Experts’ Opinions
Severa| experts in this case have offered opinions as to what caused the dump bed

to elevate. All of the experts agree that the PTO had to be engaged or “on" for the dump

 

2 The Humphrey switches are general purpose air vatves that can be used in hundreds
of applicationsl Humphrey was aware that they might be dash mounted in tractor-trailers

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bed to rise. They also agree that despite Kissinger’s testimony, he must have left the PTO
engaged after he dumped the electric motors on the morning of the accident The experts
disagree, however, as to what caused the dump bed to elevate once Kissinger began
driving on interstate 94 with the PTO still engaged For instance, Humphrey’s expert, Larry
Vande Walie, opined that the dump bed likely was raised by inadvertent activation, i.e., that
while Kissinger drove on interstate 94, either he or something in his cab inadvertently
bumped or hit the dump switchl causing the dump bed to rise. Kissingertestified that from
the time he was a mile from the Brad|ey Road overpass to the time of impact, his hands
were on the steering wheei. Based, in part, on that testimony, Fox Vai|ey’s expert, Don
Marty, concluded that it is most probable that the dump bed unexpectedly rose due to
excessive back pressure rather than inadvertent activation of the dump switch. Piaintiff’s
expert, R. Kevin Smith, agreed that back pressure might have caused the dump bed to
rise.

iVir. Smith also opined that all dash mounted switches, like the Humphrey switches,
should be guarded against inadvertent activation, Smith testified that the manufacturer of
such switches should offer guarding and provide guidelines as to when the user might want
to consider guarding against inadvertent activation. The Humphrey switches were not sold
with guarding.

Fox Valley, through Johnson, knew that guarding was necessary to prevent
inadvertent activation, Johnson testified that guarding was standard in the industry, and
that Fox Valley’s practice was to install a red safety cover over the PTO switch if it did not
come with guarding. According to Johnson, the PTO switch on Kissinger’s truck was

equipped with a red safety cover as of September 15, 2001 when he prepared the 10,000
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mile checkiist. He testified that if the truck did not have a safety cover over the P`t'O switch
at that time, he would have either installed it or made a notation on the 10,000 mile
checklist The checklist did not have any such notation, which indicated to Johnson that
the safety cover was on the PTO switch. Johnson furthertestified that each of Fox Valiey's
trucks was equipped with a red safety cover over the PTO switch because “you don’t want
[the PTO] activated going down the freeway.” However, photographs of the truck’s dash
taken after the accident did not show a safety cover on either of the switches

Humphrey aiso soid its switches without any written material within or on the
packaging Humphrey did publish a products catalogue that it provided to its distributors
and anyone who asked for it. The catalogue includes a section entitled "Genera|
Guidelines," which instructs end users to design a system that is safe and efticient, and to
“give special consideration to any potential for accidental activation." i-iowever, it is unclear
whether anyone at Fox Vaiiey knew that the catalogue was availabie to them or that it
contained information that might be helpful in determining how to install the switches
lndeed, Johnson testified that the Humphrey switches did not come with a manual.
Humphrey employees testified that the company expects the end users of its products to
know how to design a proper system. Humphrey also relies on its distributors to assist end
users with almost any potential application for its switches

The parties' experts offered opinions with respect to Humphrey's failure to provide
any product literature or warnings with the switches it soid. P|aintitf’s expert opined that
the manufacturers of “the PTO and hydraulic pump system were negligent for not providing
safety instructions warnings application literature and devices to alert the instaiier of the
system that [certain] safety controls were necessary to ensure safe operation.” Mr. Smith

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concluded that the products making up the PTO, pump, and their controls were defective
in design and unreasonably dangerous in that an unreasonable combination of hazard and
risk existed that produced a catastrophic event. Smith testified that Humphrey should
supply literature with the switches that explains the safety considerations that need to be
taken into account when applying those switches He further testified that he would expect
Humphrey to provide safety guidelines that would outline safety-critical applications

Fox Valley’s expert, Mr. Marty, opined that Humphrey had the responsibility to
provide contact information regarding system safety design considerations involving the
use of its switches Marty suggested that Humphrey include a simple tag or label in its
packaging that stated something to the effect of: "switches of this type have safety-critical
applications and may need to be guarded or there may be other safety design issues to
be considered; if you have any questions regarding your particular application, here’s how
you can contact us Marty then suggested that Humphrey provide a toll free number,
website information or direct the user to a distributor. Marty testified that if such language
had been included in the packaging with the switches either Kissinger or Johnson would
have been more likely to contact Humphrey or seek out safety-critical information Marty’s
opinion is based on the fact that it would have been easier to contact Humphrey if a
package insert had been included and that such an insert would have informed Kissinger
and Johnson that the switches have safety-critical applications Marty also explained that
human beings are much more likely to do something when it is made easier for them to do.

Marty furthertestified that if the package insert he suggested had been included with
the switches Kissinger or Johnson would have been more likely to install a solenoid valve,
which shuts off air supply to the PTO at highway speeds Marty explained that Kissinger

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or Johnson would have been more likely to install a solenoid valve based on the testimony
of the Humphrey employees and their understanding of the importance of incorporating
such a device into the system. Marty admitted that this opinion is based on his belief that
the package insert would have reminded Kissinger or Johnson to contact Humphrey and
it would have facilitated the ease of doing so. it is not clear whether Johnson or Kissinger
knew of the existence of Humphrey's solenoid valve or of the importance of incorporating
such a device into the system.
Plaintiff’s Comp|aint

P|aintiff’s complaint contains two counts against Humphrey: one strict liability count
and one negligence cou nt. in the strict liability count (Count lV)l plaintiff alleges that at the
time they left Humphrey’s control, the PTO switch and the dump switch were unreasonably
dangerous and defective in one or more of the following respects

a. The [switches] were designed, assembled manufactured, and/or configured
in such a manner that they malfunctioned or failed, thereby permitting the
hydraulic lift mechanism to inadvertently activate;

b. The [switches] were designed, assembled, manufactured, and/or configured
in such a manner that they inadvertently switched to the activated position
during highway operation of the aforesaid truck;

c. The [switches] were designed, assembled, manufactured, andlor configured
in such a manner that they lost air pressure or decompressed, thereby
permitting the hydraulic lift mechanism to inadvertently activate during

highway operation of the aforesaid truck;

d. The [switches] were not equipped with a safety device/safety cover to
prevent inadvertent activation;

e. Faiied to have proper labeling and warning for use; and
f. The [switches] were otherwise defective and unsafe.

in the negligence count (Count V), plaintiff alleges that Humphrey was negligent in

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the same manner as described in paragraphs (a)-(d) and (f) above. Piaintil'f‘s negligence
count does not include a failure to warn allegationl
Fox Valley's Cross-Ciaim

Kissinger and Fox Valley filed a cross-claim for contribution (Count iil) against
Humphrey sounding in strict product liability.3 Fox Valley alleges that the Humphrey
switches involved in the accident were unreasonably dangerous because Humphrey failed
to provide any consumer product information with the switches Fox Valley further alleges
that the unreasonably dangerous nature of the Humphrey switches entities Fox Valley to
contribution from Humphrey in the event that a jury finds in favor of plaintiff and against
Fox Valley,
LEGAL ANALYS|S

Summary judgment is proper when “the pleadings depositions answers to
interrogatories and admissions on flie, together with the affidavits if any, show that there
is no genuine issue as to any material fact and that the moving party is entitled to a
judgment as a matter of law. Fed. R. Civ. P. 56(c); see aiso, Celotex Corp. v. Catrett, 477
U.S. 317, 322-23 (1986). The moving party has the burden of demonstrating the absence
of genuine issues of material fact. Ceiotex, 477 U.S. at 323. "A genuine issue of material
fact exists only if there is sufficient evidence favoring the nonmoving party for a jury to
return a verdict for that party." Alexander v. Dept. of Heaifh and Family Services, 263 F.3d
673, 680 (7th Cir. 2001 ). When making this determination, we review the record in the light

most favorable to the nonmovant, and draw all reasonable inferences in his favor. ld.

 

3 For ease of reference, this claim will be referred to as Fox Valley’s cross-claim.

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However, once the moving party has met its burdenl the opposing party must come
fonrvard with specific evidence, not mere allegations or denials of the pleadings which
demonstrates that there is a genuine issue fortriai. Howland v. Kir'quist, 833 F.2d 639, 642
(7th Cir. 1987). Federai Rule of Civi| Procedure 56(c) “mandates summaryjudgment when
the nonmoving party fails to establish the existence of an element essential to its case and
on which that party will bearthe burden of proof at trial." Jefferson v. City of Chicago, 2000
U.S. Dist. LEX|S 22081, *10 (N.D. lil. 2000).

in diversity actions federal courts apply federal procedural rules and state
substantive law. See Bourke v. Dun & Bradsfreet Corp., 159 F.3d 1032l 1033 (7th Cir.
1998) (citing Erie R.R. v. Tompkins, 304 U.S. 64, 58 S. Ct. 817, 82 l_. Ed. 1188 (1938)).
Thus, illinois law governs the substantive issues in this case.
|. Fox Valley’s Faiiure to Warn Claim

The law of strict product liability imposes upon manufacturers a nondelegable duty
to make products that are reasonably safe. Baltus v. Weaver Di'v. of Kidde & Co., 199 lil.
App. 3d 821, 829, 557 N.E.2d 580, 585 (1st Dist. 1990). To prevail in a strict liability
action, a plaintiff must plead and prove that the injury resulted from a condition of the
product, that the condition was an unreasonably dangerous one, and that the condition
existed at the time the product left the manufacturer’s control. Soliami v. Eafon, 201 ill. 2d
1. 7, 772 N.E.2d 215, 219 (2002) (citing Haudrr'ch v. Howmed."ca, Inc., 169 i|l.2d 525, 540,
215 l|l.Dec. 108, 662 N.E.2d 1248 (1996)). A product may be found unreasonably
dangerous by virtue of a design defect or a failure of the manufacturer to warn of the

danger or instruct on the proper use of the product as to which the average consumer

 

would not be aware. ld.

Fox Valley alleges that the Humphrey switches were unreasonably dangerous and
defective because Humphrey failed to provide any consumer product information with the
switches in order to establish a prima facie case of failure to warn, Fox Valley must show
that the manufacturer failed to warn of non-obvious dangers that it knew or should have
known were posed by its products at the time the product left the manufacturer’s control.
Schuitz v. Hennessy Indus., Inc., 222 lli. App. 3d 532, 540. 584 N.E.2d 235, 241 (tst Dist.
1991 ); Wheeier v. Chrysier Corp., 2000 U.St Dist. LEX|S 2725, *15 (N.D. ll|, 2000). Fox
Valley has demonstrated that Humphrey was aware that its switches might be dash
mounted and that such dash mounted switches posed certain non-obvious dangers

Fox Valley also bears the burden of establishing that the failure to warn was a
proximate cause of plaintist injuries Kane v. R.D. Werner Co., inc., 275 ||l. App. 3d 1035,
1037, 657 N.E.2d 37, 39 (1st Dist. 1995). To establish proximate causation, Fox Valley
must demonstrate that an adequate warning would have been read and heeded, and
would have prevented the injuries in question. Schultz, 222 i|l. App. 3d at 542, 584 N.E.2d
at 242; Broussard v. Houo'aiiie industries inc., 183 lli. App. 3d 739, 744, 539 N.E.2d 360,
363 (1st Dist. 1989) (stating that in warning cases there must be sufficient evidence
supporting a reasonable inference, rather than a guess that the presence of adequate
warnings would have prevented the plaintist injuries); Wheeler, 2000 U.S. Dist. LEXlS
2725 at *15; Phiilips v. Raymond Corp., 2006 U.S. Dist. LEX|S 27632, *23 (N.D. lli. 2006)
(recognizing that a failure to warn is the proximate cause of an injury only if the plaintiff

demonstrates that he would have read and followed an adequate warning, and that the

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warning would have prevented his injuries).

l-lumphrey argues that Fox Valley has not demonstrated that Humphrey’s failure to
warn was a proximate cause of plaintist injuries This Court agrees Fox Valley’s expert,
Mr. Marfy, testified that Humphrey should have included a package insert with its switches
that informed users that the switches have safety-critical applications that they need to be
guarded and that there may be other safety design issues to consider. Marty also
suggested that Humphrey provide a toll free number, website information or direct the user
to a distributor. Piaintiffs expert, N|r. Smith, testified Humphrey should have supplied
literature with the switches explaining the safety considerations that need to be taken into
account when applying the switches He also testified that he would expect Humphrey to
provide safety guidelines that would outline safety-critical applications

However, there is no credible evidence that Kissinger or Johnson would have acted
any differently if Humphrey had included any of these suggested warnings with its
switches Neither Kissinger nor Johnson testified regarding the impact, if any, a warning
would have had on their decision to install the Humphrey switches in the manner they were
installed The only evidence either Fox Valley or plaintiff offered in this regard was Nlr.
Marty’s testimony.“ Marty claimed that Kissinger or Johnson would have been more likely
to contact Humphrey or seek out safety-critical information if it had been brought to their
attention. Marty based his opinion on the fact that it would have been easier to contact

Humphrey if a package insert had been included He further contended that such an insert

 

4 Whi|e plaintiffs expert suggested a warning Humphrey should have included with its
switches he did not offer any opinion with respect to whether Kissinger or Johnson would have
read and followed such a warning, or that the warning would have prevented plaintiffs injuries

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would have informed Kissinger and Johnson that the switches have safety-critical
applications Marty also explained that human beings are much more likely to do
something when it is made easier for them to do.

After reviewing iVlariy’s testimony about what Kissinger or Johnson purportedly
would have done if Humphrey had included a warning with its switches we find that the
testimony is based purely on speculation and conjecture Liabiiity cannot be predicated
upon surmise or conjecture as to the cause of a plaintiffs injuries Broussard, 183 |l|. App.
3d at 744, 539 N.E.2d at 363. instead, proximate cause can only be established where
there is a reasonable certainty that the defendant’s acts caused the injuries Id. Moreover,
expert testimony based on speculation or conjecture is insufficient to avoid summary
judgment Schuitz, 222 |il. App. 3d at 543, 584 N.E.2d at 243. Thus, Marly’s speculative
testimony is not enough to preclude summary judgment

Fox Valley argues that the existence of divergent expert testimony about what
caused the accident creates a disputed issue of material fact for the jury to decide.
Regard|ess of what caused the dump bed to elevate, either back pressure or inadvertent
activation, Fox Valley cannot escape summary judgment unless it shows that Humphrey’s
failure to warn was a proximate cause of plaintiffs injuries Kane, 275 ll|. App. 3d at 1037,
657 N.E.2d at 39; Wheeier, 2000 U.S. Dist. LEX|S 2725 at *15. Fox Valley has not made
such a showing.

We find nothing in the record from which it can be inferred that Humphrey's failure
to warn proximately caused plaintist injuries Simp|y put, neither Fox Valley nor plaintiff
presented any credible evidence that an adequate warning would have been read and

heeded, and would have prevented plaintiffs injuries Accordingly, summaryjudgment on

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Fox Valley's cross-claim against Humphrey is granted See Phiilips v. Raymond Corp.,
2006 U.S. Dist. LEXlS 27632 at *23 (summary judgment granted where plaintiff failed to
show that he would have read an adequate warning or that such a warning would have
prevented his injuries); Schuitz, 222 lli. App. 3d at 543, 584 N.E.2d at 243 (trial court
properly granted summary judgment where plaintiff failed to establish proximate cause in
failure to warn case); Broussaro', 183 ||i. App. 3d at 746, 539 N.E.2d at 364.
ii. Plaintiff’s Fai|ure to Warn Ciaim

Like Fox Valley, plaintiff failed to present any credible evidence that an adequate
warning would have been read and heeded, and would have prevented plaintiffs injuries
Thus plaintiff has not established that Humphrey’s failure to warn proximately caused his
injuries Accordingly, for the reasons stated above, Humphrey’s motion for summary
judgment is granted on plaintiffs failure to warn claim, as alleged in Count lV, sub-pari (e).
ii|. Plaintiff’s Fai|ure to Guard Claims5

Plaintiffs complaint alleges that the Humphrey switches were unreasonably
dangerous and that Humphrey was negligent because the switches were not equipped with
a safety device/safety cover to prevent inadvertent activation. See Count lV, sub-part (d)
and CountV, sub-part (d). Plaintiff’s experttestified that all dash mounted switches should
be guarded against inadvertent activation. Plaintiff argues that the jury will need to

determine: whether Humphrey had an obligation to provide guarding when the switches

 

5 Fox Valley also argues that the failure to guard claims should go to the jury. However,
Fox Valley’s cross-claim only contains a failure to warn ciaim. The cross-claim does not allege
that Humphrey was negligent or that the switches were unreasonably dangerous or defective
because they were sold without safety guards Accordingly, the discussion in this section is
limited to plaintiffs failure to guard claims

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were sold; whetherthe guards should have been specifically designed for these products;
and whether the guards should have been engineered to be as non-defeatabie by removal
as possibie.

Humphrey sold its switches without any safety guards or covers However, the
undisputed evidence shows that Fox Valley installed a red safety cover on the PTO switch
prior to the accident, According to Johnson, the PTO switch on Kissinger’s truck was
equipped with a red safety cover as of September 15, 2001 when he prepared the 10,000
mile checklist. He testified that if the truck did not have a safety cover overthe PTO switch
at that time, he would have either installed it or made a notation on the 10,000 mile
checklist. The checklist did not have any such notation, which indicated to Johnson that
the safety cover was on the PTO switch. iVloreover, Johnson stated unequivocally that all
of Fox Valley's trucks have red safety covers over the PTO switches because of the risk
of inadvertently activating the PTO while driving on the highway.

Humphrey argues that because Fox Valley installed safety covers on the switches
whatever defective condition might have existed at the time the switches left Humphrey’s
control was eliminated With respect to the PTO switch, this Court agrees "if a product
is unreasonably dangerous when it leaves the defendant's control but the danger-causing
deficiency is thereafter remedied and the product rendered safe, there can be no proximate
causal relationship between the condition of the product when it left the defendant's control
and a post-remedial action injury.” Monreai v. Waterbury-FarrelFoundry& Mach. Co., 269
ili. App. 3d 841, 846, 646 N.E.2d 1337, 1340 (1st Dist. 1995) (citing Rios v. Niagara
Machine & Tool Works 59 l|il 2d 79, 319 N.E.2d 232 (1974)),

ln Rios the defendant manufacturer sold a punch press without any safety devices

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Plaintiff’s employer subsequently installed a safety device to pull the operator’s hands out
of the die area. Plaintiff was injured when the safety device installed by his employer
failed The Supreme Court of illinois held that whatever unreasonably dangerous
conditions existed when the machine left the manufacturer’s control were fully corrected
by the employer’s addition of a safety device, the failure of which proximately caused the
plaintiffs injuries The court affirmed the reversal of a jury verdict for plaintiff, finding that
there was no evidence of a causal connection between the plaintiffs injuries and the
condition of the machine.

in the instant case, as in Rios, once Fox Valley installed a safety cover on the PTO
switch, any unreasonably dangerous condition that might have existed when the PTO
switch left Humphrey’s control without a safety cover was fully corrected Rr'os 59 lli. 2d
at 85, 319 N.E.2d at 236. Thus, the causal connection between the alleged defective
condition of the PTO switch, as sold by Humphrey without a safety coverl and plaintiffs
injury was broken Based on the foregoing, plaintiff cannot demonstrate that Humphrey’s
failure to provide a safety cover with the PTO switch proximately caused plaintiffs injuries
Consequent|y, summaryjudgment is granted on plaintiffs claim that the PTO switch was
unreasonably dangerous and defective because it was not equipped with a safety cover.
For the same reason, summaryjudgment is granted on plaintiffs claim that Humphrey was
negligent because it sold the PTO switch without a safety cover. Wheeier, 2000 U.S. Dist.
LEX|S 2725 at *21 (recognizing that the concept of proximate cause is the same in cases
of negligence and strict liability in tort); Schultz, 222 iii. App. 3d at 541, 584 N.E.2d at 241.

However, we cannot reach the same conclusion with respect to plaintiffs claims that

the dump switch was unreasonably dangerous and that Humphrey was negligent because

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the dump switch was not equipped with a safety cover. Despite Humphrey’s arguments
to the contrary, it is not clear from Johnson’s testimony that Fox Valley installed a safety
cover on the dump switch. Johnson’s testimony only shows that Fox Valley’s trucks had
red safety covers over the PTO switches and that the PTO switch on Kissinger's truck was
equipped with a safety cover as of September 15, 2001. Furthermore, plaintiff failed to
present any other evidence demonstrating that Fox Valley installed a safety cover on the
dump switch. This Court cannot grant summaryjudgment in favor of Humphrey based on
the theory that Fox Valley corrected the unreasonably dangerous and defective condition
of the product because we do not know whether Fox Valley installed a safety cover on the
dump switch prior to the accident

ln attacking plaintiffs failure to guard claims Humphrey relied exclusively on its
argument that Fox Valley installed safety covers on both switches thereby eliminating the
unreasonably dangerous condition of the switches As a result, Humphrey did not offer any
other basis for granting summaryjudgment on these claims However, “to succeed on a
motion for summary judgment the movant bears the burden to identify for the courtl from
among all the material of record the absence of any genuine issue of material fact." Major
Mat Co. v. Monsanto Co., 969 F.2d 579, 582 (7th Cir. 1992). Simp|y put, Humphrey has
not met its burden indeed Humphrey failed to identify the absence of material issues of
fact on either: (1) plaintiffs claim that the dump switch was unreasonably dangerous
because it was sold without a safety cover (Count lV, sub-part(d)), or (2) plaintiffs claim
that Humphrey was negligent because the dump switch was not equipped with a safety
cover (Count V, sub-part (d)).

Furthermore, after reviewing the record and drawing all reasonable inferences in

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plaintiffs favor, this Court finds that there are questions of fact relating to proximate cause.
For instance, there is expert testimony that inadvertent activation likely caused the dump
bed to rise, i.e., that while Kissinger drove on interstate 94 with the PTO still engaged
either he or something in his cab inadvertently hit the dump switch, causing the dump bed
to rise. Therefore, a reasonable jury could find that the dangerous condition of the dump
switch, without a safety cover, was a proximate cause of plaintiffs injuries That being
said other experts concluded that excessive back pressure, rather than inadvertent
activation of the dump switch, caused the dump bed to rise. Accordingly, there are
questions of fact regarding what caused the accident and whether Humphrey’s failure to
provide a safety cover with the dump switch proximately caused plaintiffs injuries6
Based on the foregoing, summary judgment is denied on plaintiffs claim that the
dump switch was unreasonably dangerous and defective because it was not equipped with
a safety cover. Forthe same reason, summaryjudgment is denied on plaintiffs claim that
Humphrey was negligent because the dump switch was not equipped with a safety cover.
Wheeler, 2000 U.S. Dist. LEXiS 2725 at *21 (recognizing that the concept of proximate
cause is the same in cases of negligence and strict liability in tort).
|V. Plaintiff’s Remaining Strict Product Liability and Negligence Ciaims
Plaintiffs remaining allegations suggest that the Humphrey switches malfunctioned
in some manner. in particular, plaintiff alleged that the switches were defective and

unreasonably dangerous because: (1 ) they malfunctioned orfai|ed, thereby permitting the

 

6 Moreover, the question of whether a defendant's product is unreasonably dangerous
for failure to incorporate certain safety devices is generally a question to be decided by a jury.
Turney v. Ford Motor Co., 94 iil. App. 3d 678. 688, 418 N.E.2d 1079, 1086 (1st Dist. 1981).

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hydraulic lift mechanism to inadvertently activate; (2) they lost air pressure or
decompressed, thereby permitting the hydraulic lift mechanism to inadvertently activate;
(3) they inadvertently switched to the activated position during highway operation; or (4)
they were otherwise defective and unsafe. See Count |V, sub-parts (a)-(c) and (f). ln
plaintiffs negligence countl he alleged that the switches were negligently designed and
manufactured for the same reasons See Count V, sub-parts (a)-(c) and (e).

in short, there is no evidence or testimony from any witness to support these
allegations There is no evidence that the Humphrey switches malfunctioned in any way
or were not working properly at the time of the accident There is also no evidence that the
switches lost air pressure or decompressed. |f the build up of back pressure caused the
dump bed to rise, as some experts suggested plaintiff failed to produce any evidence that
the back pressure problem had any connection tothe Humphrey switches lndeed, plaintiff
has not pointed to any evidence suggesting that the operation or malfunction of the
switches caused or contributed to back pressure build up.

With respect to plaintiffs claim that the Humphrey switches inadvertently switched
to the activated position during highway operation, again, the evidence is lacking The only
way the switches could have “inadvertently switched to the activated position’l is if they
malfunctioned or Kissinger bumped or hit the switches to change their position As
discussed above, there is no evidence that either the PTO switch or the dump switch
malfunctioned Furthermore, if Kissinger or something in his cab inadvertently activated
the switches then the switches worked as intended and Humphrey could only be liable for
failure to warn orfailu re to guard Plaintiffs failure to warn and failure to guard claims were

addressed above.

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Finaliy, plaintiff failed to present any evidence that the switches were othen~ise
defective and unsafe. in fact, plaintiffs expert only offered general, unspecific opinions
with regard to Humphrey. Smith opined that the products making up the PTO, pump, and
their controls were defective in design and unreasonably dangerous in that an
unreasonable combination of hazard and risk existed that produced a catastrophic event
However, Smith failed to specify how the Humphrey switches were defective or
unreasonably dangerous or how they contributed to, or caused this catastrophic event As
such, there is no factual basis for Smith’s opinion that the switches were unreasonably
dangerous and defective. “An expert’s opinion is only as valid as the bases and reasons
for the opinion When there is no factual support for an expert‘s conclusions his
conclusions alone do not create a question of fact.” Gyllin v, Coiiege Craft Enfers, 260 il|.
App. 3d 707, 715, 633 N.E.2d 111, 118 (2nd Dist. 1994).

Because there is no evidence that the Humphrey switches malfunctioned and
because plaintiffs expert failed to explain how the switches were defective orunreasonably
dangerous or how they proximately caused plaintiffs injuries summaryjudgment is granted
on Count |V, sub-parts (a)-(c) and (f) and Count Vl sub-paris (a)-(c) and (e).
CONCLUS|ON

For the reasons set forth above, Humphrey’s motion for summary judgment is
denied on plaintiffs claim that the dump switch was unreasonably dangerous and defective
because it was not equipped with a safety cover. (Count iVl sub-part (d)). Summary
judgment is also denied on plaintiffs claim that Humphrey was negligent because the
dump switch was not equipped with a safety cover. (Count V, sub-part (d)).

Humphrey’s motion for summaryjudgment is granted on all of plaintiffs other strict

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liability and negligence claims as alleged in Count lV, sub-parts (a)-(c) and (e)-(f) and

Cou ntV, sub-parts (a)-(c) and (e). Additionally, Humphrey’s motion for summaryjudgment

is granted on Fox Valley’s failure to warn cross-ciaim. it is so ordered

Dated: Ju|y 24, 2006

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ENTER:

WM_
MlciiAEL r. MA{soN
United States Magistrate Judge

